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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

GABRIELLE HAINEY                                               CIVIL ACTION

VERSUS                                                         NO: 21-407

THE CITY OF NEW ORLEANS                                        SECTION: “J” (4)


                                        ORDER

      Considering the foregoing Ex Parte Motion for Leave to File Opposition to

Defendant’s Motion for Reconsideration Under Seal (Rec. Doc. 232),

      IT IS HEREBY ORDERED that the motion is GRANTED, and the

opposition shall be filed under seal.

      New Orleans, Louisiana, this 12th day of August, 2024.




                                              CARL J. BARBIER
                                              UNITED STATES DISTRICT JUDGE




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